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  8                            UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
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 12    JOSE GODINEZ,                                Case No. 2:17-cv-06156-JVS (SHK)

 13                              Petitioner,
                                                    ORDER ACCEPTING FINDINGS AND
 14                       v.                        RECOMMENDATION OF UNITED STATES
                                                    MAGISTRATE JUDGE
 15    DANIEL PARAMO, Warden,
 16                                 Respondent.
 17
 18         Pursuant to 28 U.S.C. § 636, the Court has reviewed the First Amended
 19   Petition (“FAP”), Respondent’s Motion to Dismiss (“MTD”) the FAP, the relevant
 20   records on file, and the Report and Recommendation of the United States
 21   Magistrate Judge. No objections have been filed. The Court accepts the findings
 22   and recommendation of the Magistrate Judge.
 23         IT IS THEREFORE ORDERED that:
 24         1) Respondent’s MTD as to Grounds One and Two of the FAP, based on
 25            Younger abstention, is DENIED;
 26         2) Respondent’s MTD as to Grounds Three and Four of the FAP, based on
 27            failure to allege a deprivation of a federal constitutional right, is
 28            GRANTED; and
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  1         3) Respondent shall file an Answer to the remaining claims within 30 days
  2            of this order.
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      Dated: September 25, 2020
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                                           HONORABLE JAMES V. SELNA
  6                                        United States District Judge
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